           Case 1:21-cr-00175-TJK Document 216 Filed 11/02/21 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
               v.                               :      Case No. 21-CR-175 (TJK)
                                                :
ETHAN NORDEAN,                                  :
also known as “Rufio Panman,”                   :
JOSEPH BIGGS,                                   :
ZACHARY REHL, and                               :
CHARLES DONOHOE,                                :
                                                :
                         Defendants.            :

    GOVERNMENT’S NOTICE REGARDING DISCOVERY CORRESPONDENCE

       The United States of America, by and through undersigned counsel, respectfully submits

this notice of recent correspondence to defense counsel regarding discovery productions. Filed as

attachments to this notice are three letters. The first reflects the production of certain media files

capturing events on January 6, 2021, that were obtained by the government during its investigation.

The second and third reflect “cross-discovery” from other cases—that is, discovery that is related

to defendants not charged in this case but that is nonetheless relevant here. The attachments

include the following:

 Attachment              Date                           Recipients and Content
                                       Counsel for All Defendants
       1            9/21/2021          (hard drive with electronic media)
                                       Counsel for All Defendants
       2            10/15/2021         (cross-discovery from U.S. v. Jackman et al., 21-cr-378)
                                       Counsel for All Defendants
       3            10/20/2021         (cross discovery from U.S. v. Pezzola et al., 21-cr-52)

       In addition to the above productions, the government has provided several detailed letters

to all counsel regarding the government’s efforts to provide discovery across all Capitol Riot cases,

including descriptions of the materials that have been made available. That correspondence, which

is not attached, includes the following:
         Case 1:21-cr-00175-TJK Document 216 Filed 11/02/21 Page 2 of 2




       Date                                 Materials Made Available
                     U.S. Capitol Police (“USCP”) Closed Circuit Video (CCV)
    9/28/2021        USCP Office of Professional Responsibility (OPR) Records
                     Metropolitan Police Department (MPD) Internal Investigation Records
    10/5/2021        Additional USCP CCV
                     MPD Body-Worn-Camera (BWC) Footage
                     Additional USCP CCV
                     Interior U.S. Capitol Maps
    10/19/2021       Recordings of USCP Radio Communications (with draft transcripts)
                     Additional USCP OPR Records
                     MPD Radio Global Positioning Satellite (GPS) Records
                     U.S. Secret Service Surveillance Footage
                     Additional USCP CCV
    10/25/2021       Camera Map of U.S. Capitol Grounds
                     MPD Aerial Surveillance Images
                     Demonstration Permits Received by USCP
                     Audio Files of MPD Radio Transmissions (with transcript)
                     USCP After-Action Reports
    10/29/2021
                     Fairfax County Police BWC Footage
                     Montgomery County BWC Footage

       Additional information regarding the government’s ongoing efforts to provide discovery

across all Capitol riot cases was provided in the government’s October 25, 2021, status report. See

ECF 214.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             DC Bar No. 415793

                                      By:           /s/ Luke M. Jones
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